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 1   DORON WEINBERG
     (SBN 046131)
 2   WEINBERG & WILDER
     523 Octavia Street
 3   San Francisco, CA 94102
     Telephone: (415) 431-3472
 4   Facsimile: (415) 552-2703
     doronweinberg@aol.com
 5
     Attorneys for Defendant STEVEN SHELTON
 6
                                              UNITED STATES DISTRICT COURT
 7
                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA, )                              Case No. CR-05-00334 SBA [WDB]
 9                                 )
                 Plaintiff,        )                          [PROPOSED] ORDER PERMITTING
10                                 )                          TRAVEL OUTSIDE DISTRICT
           vs.                     )
11                                 )
     STEVEN SHELTON, et. al.,      )
12                                 )
                 Defendants.       )
13   ______________________________)

14             Defendant Steven Shelton, being required to appear in Court on May 16, 2006, before the

15   Honorable Saundra Brown Armstrong for the purpose of pretrial conference in this matter, and

16   good cause appearing therefor,

17   IT IS HEREBY ORDERED that defendant Steven Shelton be permitted to travel from the

18   Middle District of Florida where he currently resides on May 15, 2006, to the Northern District

19   of California.

20             IT IS FURTHER ORDERED that defendant shall remain in the Northern District of

21   California through the end of the proceedings in this matter, including trial which is presently
                                                                                      S DISTRICT
22   scheduled for May 22, 2006.                                                   ATE           C
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23                                                            ________________________________________
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       Dated: May 5, 2006                                                                     RED
                                                                                         D.DEBRAZIL
                                                                        UNIT




                                                              HONORABLE WAYNE
                                                                               T IS SO OR
24                                                                           I
                                                              United States Magistrate  Judge
                                                                                                                     R NIA




                                                              Northern District of California
                                                                                                        Brazil
25                                                                                            ayne D.
                                                                        NO




                                                                                      Judge W
                                                                                                                     FO
                                                                            RT




     [Proposed] Order Directing U.S. Marshal to   Order permitting travel
                                                                                                                 LI




26   Arrange for Non-Custodial Transportation                                    ER
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                                                  outside the district                                           C
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